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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA



      JEFFREY B. SEDLIK,
            Plaintiff,                     2:21-cv-01102-DSF-MRW

                       v.                  JUDGMENT

      KATHERINE VON
      DRACHENBERG aka KAT VON
      D, et al.,
                 Defendants.



         The Court having granted summary judgment as to all claims
      against Kat Von D, Inc. and a jury having rendered a verdict in favor of
      Katherine Von Drachenberg aka KAT VON D and High Voltage Tattoo,
      Inc.,

         IT IS ORDERED AND ADJUDGED that Plaintiff take nothing, that
      the action be dismissed on the merits with prejudice, and that
      Defendants recover costs of suit pursuant to a bill of costs filed in
      accordance with 28 U.S.C. § 1920.



      Date: January 30, 2024              ___________________________
                                          Dale S. Fischer
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                                          United States District Judge
